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                         Exhibit 17
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater          *         MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April         *
   20, 2010                                         *         SECTION J
                                                    *
                                                    *
                                                    *         HONORABLE CARL J.
                                                    *         BARBIER
                                                    *
                                                    *         MAGISTRATE JUDGE
                                                    *         SHUSHAN
                                                    *


                            DECLARATION OF HOLLY SHARP

       I, Holly Sharp, submit this declaration in support of BP Defendants’ Motion for Final

Approval of Deepwater Horizon Economic and Property Damages Settlement Agreement As

Amended On May 2, 2012. I am over the age of 18, and the opinions, statements, and

conclusions expressed in this declaration are my own.

                                       INTRODUCTION

       1.      I am an independent expert retained by counsel for BP Exploration & Production

Inc. and BP America Production Company, along with the other BP entities who have been

named as defendants in the above-captioned litigation (collectively, “BP”), for the purpose of

evaluating the proposed Deepwater Horizon Economic and Property Damages Settlement

Agreement (the “Settlement Agreement”) between BP and the Plaintiffs.           This declaration is

based upon my own personal experience, expertise, and analysis, except where otherwise

indicated; and if called to testify I could testify to the opinions and analysis I set forth in this

declaration.
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       2.      I did not assist and was not involved in any way in the negotiation, drafting,

development, or revising of the Settlement Agreement or its compensation frameworks.


       3.      I am a Certified Public Accountant (CPA), Certified Fraud Examiner (CFE), and

Certified in Financial Forensics (CFF) and a Shareholder and Director in LaPorte CPAs and

Business Advisors, a CPA firm based in Metairie, Louisiana, where I have practiced for more

than 30 years. I have a B.S. in Business Management from Tulane University and a M.S. in Tax

Accounting from the University of New Orleans. I am an Adjunct Professor of Taxation at the

A.B. Freeman School of Business at Tulane University, where I have taught since 1999. I have

published extensively on issues related to the calculation of damages, including economic losses

from personal injury, lost profits, and other economic damages.       I have taught continuing

education courses to accountants and attorneys on the calculation of economic damages. I have

served as the Chairwoman and am a current member of the Economic Damages Task Force of

the American Institute of Certified Public Accountants. My curriculum vitae detailing my

education and experience is attached to this Declaration.


       4.      Over the course of my professional career, I have performed hundreds of business

interruption, loss of business income, and lost profit calculations for individuals and business

entities. I also have performed hundreds of economic loss calculations in matters involving

individuals. These calculations were performed in litigated and non-litigated matters. In those

matters, I have been retained almost equally by the plaintiffs and defendants/insureds and

insurance companies.


       5.      Virtually every business in the New Orleans area that was in existence at the time

of Hurricane Katrina sustained business interruption and loss of business income. My work from
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October 2005 through December 2006 consisted primarily of performing and supervising my

employees in business interruption and loss of business income calculations. This work was

performed for individual and business clients of my firm, for insurance companies, and for

attorneys with plaintiff or defense clients in litigation proceedings.       These calculations

encompassed a variety of businesses including personal service industries, wholesale and retail

distributors, apartment rentals, hotels, and restaurants.


       6.      I have been asked to render opinions with respect to the economic reasonableness

and methodologies of business and individual economic loss under the Settlement Agreement.


       7.      In order to reach my opinions, I reviewed and carefully studied the following

materials:


               (a)     The Settlement Agreement, as amended on May 2, 2012, and Appendices

       1A-27 with a focus on those containing the frameworks for business and individual

       economic loss. This includes compensation frameworks for general business economic

       loss claims (Exhibit 4A-4E of the Settlement Agreement), multi-facility businesses

       (Exhibit 5 of the Settlement Agreement), failed businesses (including failed start-up

       businesses) (Exhibit 6 of the Settlement Agreement), start-up businesses (Exhibit 7 of the

       Settlement Agreement), and individual economic loss claims (Exhibit 8A-8E of the

       Settlement Agreement).


               (b)     Interim Class Counsel’s and BP’s Joint Supplemental Motion Related to

       the Economic and Property Damages Settlement, filed May 2, 2012.
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                  (c)      The Plaintiffs’ Steering Committee’s and BP Defendants’ Joint Motion

          for: (1) Preliminary Approval of Class Action Settlement; (2) Scheduling a Fairness

          Hearing; (3) Approving and Issuing Proposed Class Action Settlement Notice; and (4)

          BP’s Motion for Adjourning the Limitation and Liability Trial, filed April 18, 2012.


                  (d)      The Claim Forms and their instructions and Frequently Asked Questions

          (“FAQs”) and answers available to claimants on the Claims Administrator’s website.1


                  (e)      The court’s Preliminary Approval Order.2


                  (f)      Objections relevant to business and individual economic loss claims.


                  (g)      The Claims Administrator’s claims statistics, as posted on the settlement

          website;3


                  (h)      Certain independently identified authoritative references, as cited herein.


          8.      The methodologies used in the compensation frameworks for business and

individual economic loss are clear and objective and will fairly compensate claimants for losses

due to the DWH spill. They apply generally accepted and standardized mathematical formulas

to data provided by the claimants. This should facilitate efficient administration and objective,

consistent determinations of compensation.            Similarly, the documentation required by the

frameworks is reasonable and consistent with the types of documents typically produced and


1
    Available at www.deepwaterhorizonsettlement.com
2
 Docket No. 6418, Preliminary Approval Order as to the Proposed Economic and Property Damages Class Action
Settlement, May 2, 2012.
3
    Available at www.deepwaterhorizonsettlement.com
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relied upon in litigation involving economic loss damages. Both the methodologies used and the

documents required in the Settlement Agreement are consistent with the methodologies I use and

the documents I rely upon for my damages assessments and calculations in similar matters.


Business Economic Loss


          9.    The Business Economic Loss framework in the Settlement Agreement applies

generally accepted and established methods for business claimants to receive compensation. It is

generally accepted that business economic loss is measured by the difference between actual

performance during the damage period, and “but-for” performance during the damage period

assuming the loss event did not occur.       The compensation calculation in the Settlement

Agreement for business economic loss claims is divided into two steps:          Step 1 provides

compensation for the reduction in variable profit between the Compensation Period and the

Benchmark Period. Step 2 provides compensation for increased profits expected to be generated

in 2010 “but for” the spill. The two-step calculation in the Settlement Agreement applies the

generally accepted “before and after” method to compensate business claimants for post-spill lost

profit.


          10.   The “before and after” method is commonly used by experts to measure lost profit

during a damage period. This method looks at business operations before and after a loss event

to measure expected returns had the loss event not happened. A base (benchmark) period of

revenues and expenditures (benchmark earnings) is selected from the business records to use as a

predictor during the damage (compensation) period.        Revenues less variable expenses are

calculated for both the Benchmark Period and the Compensation Period, and the difference is

measured (Step 1). The Variable Margin percentage is calculated based on claimant-specific
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data (Variable Profit divided by Total Revenues during May through December of the

Benchmark Period years). Growth factors are calculated by analyzing historical revenue trends

prior to the loss event. Growth factors are then applied to benchmark earnings to determine

incremental revenue that would have been generated during the Compensation Period if the loss

event had not occurred, and the Variable Margin percentage is applied (Step 2). The sum of Step

1 and Step 2 equals the lost profit; this is the difference between expected returns had the loss

event not happened, and actual returns realized during the damage or compensation period. This

generally accepted methodology of the “before and after” approach to calculate business

economic loss is the methodology applied in the Settlement Agreement to compensate business

economic loss.


           11.      I use the “before and after” method to calculate lost profits and have taught

certified public accountants how to use this method in numerous continuing education courses.

Details of the “before and after” method are found in my publication Lost Profit Damage

Calculation.4 Other publications supporting the use of the “before and after” method include

Recovery of Damages for Lost Profits by Robert L. Dunn5, The Comprehensive Guide to Lost

Profit Damages edited by Nancy J. Fannon6, Measuring Business Interruption Losses and Other

Commercial Damages by Patrick A. Gaughan7, and AICPA Practice Aid 06-4, Calculating Lost

Profits8.


4
    Holly Sharp, CPA, CFP, CFE and Geoffrey P. Snodgrass, JD, Lost Profit Damage Calculation (2005).
5
    Robert L. Dunn, Recovery of Damages for Lost Profits, (6th ed. 2005).
6
    The Comprehensive Guide to Lost Profit Damages 2009 Edition, (Nancy J. Fannon, ed., 2009).
7
    Patrick A. Gaughan, Measuring Business Interruption Losses and Other Commercial Damages (2009).
8
    AICPA Practice Aid 06-04, Calculating Lost Profits (2006).
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           12.      The documents required by the Settlement Agreement for business economic loss

compensation are typically required to calculate any business economic loss. The required

business documents are relevant to causation and damages analysis and are the types of

documents that businesses must keep in the ordinary course of business, or are readily prepared

and produced from a business’ books and records. This is also true for self-employed individuals

covered by the business economic loss framework.                   The Settlement Agreement provides

flexibility regarding the documents required for business economic loss claimants: federal tax

returns and monthly and annual profit and loss statements are required for the Benchmark and

Compensation Period; however, the business claimant may use financial statements prepared at a

later date, provided they are based on its contemporaneously prepared records or

documentation.9 The business claimant that does not have the required profit and loss statements

merely has to use records of its revenues and expenditures that were generated or received at or

around the time to which they relate for preparation of these required documents. The document

requirements are therefore not burdensome for the business claimant because these documents

are maintained by most businesses or can be readily produced from the contemporaneous books

and records of the business.


           13.      The business claimant may engage an accountant to assist with the claims

preparation and preparation and assembly of the required documents. The Settlement Agreement

provides for reimbursement of accounting fees related to the claim that are incurred by business

claimants. Business claimants shall be reimbursed for accounting fees based on actual fees

incurred, subject to limits10, and the accounting reimbursement is paid over and above any

9
    See, for example, Section 38.38 of the Settlement Agreement.
10
     See Section 4.4.13.8 of the Settlement Agreement.
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compensation due under the Settlement Agreement. Reimbursement of accounting fees provides

an added benefit to the business claimant under the Settlement Agreement because an ordinary

business litigant would not necessarily receive reimbursement of its accounting fees as part of a

settlement.


        14.      The Settlement Agreement contains causation requirements designed to

demonstrate that the claimants business was impacted by the spill; however, causation is

presumed for many business claimants.11               Having causation presumed for many business

claimants’ benefits those claimants because they are not required to provide any evidence of

causation.


        15.      When causation is not presumed, the causation requirements are reasonable and

flexible. Business claimants have several options to prove causation and these options are

flexible enough to permit a variety of different businesses to establish causation. The options to

demonstrate causation start with straightforward, reasonable tests of business revenue patterns

that show a downturn after the spill and a later upturn (“V-shaped revenue pattern test”) of

certain established percentage thresholds. This is exactly the revenue trend one would expect if a

business claimant was damaged by the spill, which was of limited duration. The requirement

that the trends be evidenced over several months is a reasonable requirement to ensure that an

observed trend is a real trend and not just part of the normal month-to-month variation in a

business’ performance. Where the V-shaped revenue pattern tests exhibit a less severe “V” (as

set forth in the Business Economic Loss framework), additional tests are required for the


11
   See Section I of Exhibit 4B of the Settlement Agreement (requiring no causation proof for businesses in Zone A,
unless they fall within an exception, certain seafood businesses, certain tourism businesses, and certain charter
fishing businesses in Zones A, B, or C).
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claimant to establish causation.      Business claimants with declining revenues (of specific

percentage amounts) that did not recover in 2011 still can meet the causation requirements if

they meet additional tests and provide specified documentation. This also provides a reasonable

alternative for businesses that do not meet the V-shaped revenue pattern test. The additional

tests and documents required to establish causation for businesses with a downturn in total

revenues after the spill but that did not show an upturn for the corresponding 2011 measurement

period identify logical reasons the expected recovery might not have occurred -- such as, for

example, road construction in front of a business or entry of a competitor. Claimants may also

establish causation by providing contemporaneous written evidence of spill-related cancellations

of reservations or contracts that the claimant was unable to rebook or replace. The causation

tests specified in the Settlement Agreement are based on exactly the type of evidence I would use

to determine whether lost revenues were caused by an event.


       16.     The Business Economic Loss framework also has a causation provision that is

very favorable to very small businesses. It allows a small business (under $75,000 in revenue)

located near a larger business that attracts customers who then also patronize the small business

to rely on the larger business’ causation. This is favorable to such small business because it

simplifies and reduces its cost of establishing its claim which is likely to be small given its size.


       17.     Even though the causation tests assume the observed impact on the business is a

function of the spill (rather than undertaking a specific analysis to confirm), once a business

meets the causation requirements, for purposes of quantifying compensation, all revenue and

variable profit declines during the claimant-selected compensation period are presumed to be

caused by the spill, with no analysis required to determine whether the declines might have been

due, at least in part, to other causes. In a typical lost profit case, a detailed analysis of the
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reasons for the revenue and/or variable profit declines is undertaken because it is part of the

plaintiff’s burden of proof. For this reason, causation is a significant consideration by the expert

in lost profit cases because although a plaintiff may have losses relative to expectations, if the

losses cannot be shown to be caused (or totally caused) by the actions of the defendant(s), the

damages are usually not recoverable or not entirely recoverable. “Recovery of damages for lost

profits is subject to the general principle that damages must be proximately caused by the

wrongful conduct of the defendant.”12 Assignment of liability for losses in litigation disputes

with multiple causation factors can be a very difficult and hotly contested determination. The

Settlement Agreement significantly reduces the need for this complicated determination because

once causation requirements are met by a business claimant, all the economic losses are

presumed to be as a result of the spill. The business claimant benefits from the causation

provisions in the Settlement Agreement by having causation presumed for many, straightforward

mathematic tests of causation for others, and no requirement to attribute lost profits to anything

other than the spill. The causation provisions in the Settlement Agreement are more favorable to

the business claimant than those for a similarly situated plaintiff in a typical litigation dispute.


           18.      Compensation for business claimants is calculated in two steps. Total Variable

Profit in the Benchmark Period is compared to total Variable Profit in the Compensation Period

to calculate the reduction in Variable Profit (Total Revenue less Variable Costs) from the

Benchmark Period to the Compensation Period (Step 1). The Compensation Period is three or

more months from May through December 2010, selected by the business claimant, and these

same months are used for the Benchmark Period. The business claimant has the choice of using

12
     Robert L. Dunn, Recovery of Damages for Lost Profits at 2 (6th ed. 2005).
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these months in 2009, the average of 2008 and 2009, or the average of 2007 through 2009 as the

Benchmark Period.


       19.     The Settlement Agreement incorporates the standard lost profit methodology of

using a time period close to the loss incident for a Benchmark Period. The standardized options

for the selection of Benchmark Period years are 2009, the average of 2008 and 2009, and the

average of 2007, 2008 and 2009. Consideration of up to three years of historical operations is

typical and reasonable. Moreover, the standardization of choices is a reasonable way of making

the claims process simpler and more manageable for both claimants and the Settlement Program.

It also means that similarly situated claimants will be treated consistently.


       20.     The Settlement Agreement provides options to the business claimant in the

selection of its Benchmark Period that are more flexible and generous than what would usually

be available in litigation. In litigation, the parties (and their experts) can contest what periods

prior to the loss event (and up to three years prior to the loss event is a typical time period to

analyze) are most representative of operations immediately prior to the loss event and best to

predict operations during the Compensation Period. In contrast, the Settlement Agreement

allows the business claimant to select the Benchmark Period from the standardized options that is

most beneficial to the claimant in terms of establishing causation (if the claimant is not one for

which causation is presumed) and loss. Moreover, the Settlement Agreement provides that, if

the claimant fails to select the most favorable Benchmark Period from the standardized options,

the Settlement Program shall identify and select the most favorable Benchmark Period (i.e., the

Benchmark Period that maximizes the claimant’s compensation) in processing the claim. See

Settlement Agreement §4.3.8.
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       21.     An example illustrates the point. Assume a plaintiff’s Variable Profit totaled

$40,000 in 2007, $35,000 in 2008, and $20,000 in 2009. There would be a substantial argument

that $20,000 is the most appropriate benchmark to use in establishing expected 2010

performance (in the absence of the loss event) because the annual revenues show a downward

trend. However, the Settlement Agreement allows the business claimant the option to select

Benchmark Period revenues based on the average of 2007 through 2009 ($31,667), or the

average of 2008 and 2009 ($27,500), either of which results in higher Benchmark Period

Variable Profit. Since the Benchmark Period result is used to project expected earnings during

the 2010 Compensation Period, use of a Benchmark Period that produces a higher Variable

Profit benchmark will result in a larger loss claim. Thus, the Settlement Agreement’s provisions

giving claimants the ability to select from three possible Benchmark Periods, and requiring the

Settlement Program to use the Benchmark Period most favorable to the claimant, are designed to

ensure that the claimant receives the highest compensation amount for which the claimant can

qualify under the framework.


       22.     The business claimant uses its profit and loss statements to calculate Variable

Profit for both the Benchmark Period and Compensation Period by adding revenues and

subtracting variable costs. Business costs may be variable or fixed. Variable costs fluctuate with

changes in revenues, output or business activity; therefore if revenue is reduced, the variable

costs are also reduced. Commissions owed as a percentage of sales (e.g., a 1% commission) are

an example of variable costs because if the sale is not made, the commission is not owed. Rent

at a set amount (e.g., $2,000 per month) is an example of a fixed cost because rent is owed

whether a business has sales or not. Variable costs in lost profits calculations are sometimes

referred to as “saved costs”; if the revenue is lost, the cost is saved. Lost profits are determined
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based on Variable Profits because this measures the net out-of-pocket loss resulting from the loss

event.


           23.      The Settlement Agreement specifies which cost categories shall be classified as

Variable Costs13, and these specified costs are typically classified as variable costs in any lost

profit calculation for any type of business. The specification of variable costs in the Settlement

Agreement simplifies the Variable Profit calculation for the claimants and also provides an

appropriate level of standardization and consistency across claimants.                          Furthermore, the

Settlement Agreement specifies the treatment of fixed and variable components of payroll

expenses14, cost of goods sold15, and maintenance and repairs16 in a manner that should be

favorable to and provide consistency for the business claimant in calculating its Variable Profit.

The allocation of cost categories in the Settlement Agreement to either fixed or variable is very

specific and logical and ensures costs are classified in a consistent manner for all business

claimants.


           24.      The Settlement Agreement classifies certain costs as fixed, but does not require an

analysis of fixed costs during the Compensation Period to determine if these costs were reduced

or eliminated. The framework for Business Economic Loss does not require any reduction in

compensation for decreases in fixed costs that the claimant may have been able to achieve after


13
  See Attachment A to Exhibit 4D of the Settlement Agreement. General cost categories are classified as fixed or
variable, with some costs such as payroll, costs of goods sold, franchise fees and maintenance and repairs allocated
between fixed and variable components.
14
     See Section I of Exhibit 4C of the Settlement Agreement: Definition of Fixed and Variable Payroll Expenses.
15
     Ibid., Definition of Variable Portion of COGS.
16
  Attachment A to Exhibit 4D of the Settlement Agreement: Maintenance is fixed and repairs are variable, but if
the claimant’s books/records do not distinguish maintenance from repairs, 50% is allocated to each category.
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the spill. This is a benefit for the business claimant that was able to mitigate some of its fixed

cost expenses after the spill.17 If the claimant managed to reduce some of its fixed expenses, it

saved that money and reduced the loss it would otherwise have had. However, under the

Settlement Agreement, that cost savings will not offset or reduce the claimant’s losses that can

be compensated. This is because, in Step 1 of the Business Economic Loss compensation

framework, losses are calculated based on changes in Variable Profit, which does not consider

fixed costs.


         25.     Step 2 of the Business Compensation Framework calculates loss attributable to

growth that might have been expected to occur during a period in May-December 2010, after the

spill. This consideration of losses due to lost expected growth is also typical of lost profits

methodology.


         26.     In Step 2, a Variable Margin Percentage is calculated from claimant-provided data

by adding up: (1) Variable Profit in May through December of the Benchmark Period years; and

(2) total revenue in May through December of the Benchmark Period years, and dividing sum (1)

by sum (2). The Variable Margin Percentage is used to calculate the amount of variable profit

relative to revenues. For example, if a claimant’s Benchmark Period year is 2009, total Variable

Profit (revenues less variable expenses) for May through December 2009 [sum (1)] would be

compared to (i.e., divided by) the total revenues for May through December of 2009 [sum (2)].

If the result is 50%, this is the Variable Margin percentage. Application of the Variable Margin

Percentage to lost revenues provides the net lost profits. The Variable Margin Percentage is


17
   For example, a business that was unable to operate during May 2010 because of the spill would still owe rent
payments pursuant to the terms of the lease. If the landlord decided to abate the May rent for the business claimant,
the saved rent is not subtracted in the compensation calculation.
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calculated over a period that may be longer than the Compensation Period; however, the longer

period helps to smooth out aberrations that might be present in shorter time periods. This is an

acceptable method of calculating the Variable Margin.


       27.     The Business Economic Loss Framework provides for calculation of a growth

rate using the standard methodology applied in any lost profit calculation: revenue in the period

immediately preceding the loss event is compared to a prior period (or prior periods) to

determine growth trends prior to the loss event. The Claimant-Specific factor is calculated by

comparing the sum of total revenue from January through April of 2010 to the sum of total

revenue in January through April of the selected Benchmark Period year(s). The difference is

divided by total revenue in January through April of the selected Benchmark Period year(s).


       28.     The Business Economic Loss Framework contains provisions that apply an even

more favorable growth rate than would typically be selected in a lost profit claim. First, a 2%

General Adjustment Factor is assumed for all claims.         This is favorable because not all

businesses would have grown in the absence of the spill, and undoubtedly there will be claimants

whose businesses would not have grown (or would have grown less than 2%). Second, the

framework has a growth “collar” of -2% to 10% on actual growth. When the 2% assumed

General Adjustment Factor is applied, the effect of the collar is to permit a growth range of 0 to

12%. This is favorable to claimants because it eliminates any reduction for negative growth,

even though it is likely that at least some claimants in fact would have experienced or did

experience negative growth unrelated to the DWH spill.


       29.     There is another way in which the use of the growth factors (Claimant-Specific

and General Adjustment Factors) is favorable to claimants. The growth factors are applied to the
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sum of six consecutive months of revenues during May-December of the Benchmark Period

year(s) (as selected by the business claimant), if the claimant’s Compensation Period is six

months or less, or to seven or eight months if the claimant’s Compensation Period is seven or

eight months, respectively. Thus, for example, if a claimant selects a three-month compensation

period, the growth factors are nevertheless applied to six months. This means that a claimant is

being compensated for “growth” even with respect to months that are not in the Compensation

Period. This methodology, in which a claimant receives compensation for alleged lost growth

even in periods outside the selected compensation, is unique in my experience. It is favorable to

claimants because it will always result in a higher recovery for lost growth than would be the

case if, as is usually the case, the growth period were the same as the Compensation Period.

Moreover, since the calculated loss amount is multiplied by the Risk Transfer Premium (“RTP”),

this means that the claimant will receive a multiple of the extra loss amount.


           30.      As noted, the Settlement Agreement applies a Risk Transfer Premium (RTP)

multiplier to the calculated loss shown by the business claimant in Steps 1 and 2. The RTP

multiplier is based on the definition of the business (e.g., Tourism, Charter Fishing, Seafood,

Non-Tourism, Non-Seafood) and the Zone location of the business.18 Among other things, the

RTP is intended to cover potential future injuries -- which may not ever occur -- as well as pre-

judgment interest, any risk of oil returning, and any claims for consequential damages,

inconvenience, aggravation, any risk of future loss, the lost value of money, compensation for

emotional distress, liquidation of legal disputes about punitive damages, and other factors.19

Thus, taken with the calculated loss compensation, the RTP multiplier is designed to make the

18
     See Exhibit 15 of the Settlement Agreement.
19
  See Exhibit 15 of the Settlement Agreement and 4/18/12 Plaintiff’s and Defendants’ Memorandum in Support of
Joint Motion, p. 14.
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claimant whole for all claimed losses, whether such losses ever could be recoverable or not.

Indeed, to the extent it compensates for potential future losses that do not occur, it will make the

claimant more than whole. In my experience, this approach is unusually generous.


           31.      Special RTP rules apply for Multi-Facility businesses,20 and an RTP is not applied

for failed businesses and failed start-up businesses. It is logical to exclude RTPs for failed

businesses and failed start-up businesses because the Settlement Agreement compensates these

businesses based on the value of the business; therefore, there is no need to add an RTP for failed

businesses and failed start-up businesses.


           32.      The provision of the Business Economic Loss framework providing that any prior

payments received by the business claimant from BP or the GCCF in the BP claims process are

then subtracted after application of the RTP multiplier also is logical and generally consistent

with traditional methods of compensating businesses for lost profits. Subtraction of payments

already received prevents claimants from receiving double compensation. The offset after the

business compensation has been increased by the RTP multiple is reasonable and, indeed,

generous. Lost profit calculations in litigated claims do not apply RTP multiples and losses are

usually reduced by the total amount of any mitigating earnings.


Business Frameworks Addressing Special Circumstances


           33.      As mentioned above, in addition to the general Business Economic Loss

framework, the Settlement Agreement also includes frameworks for businesses with special




20
     See Exhibit 5 of the Settlement Agreement.
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circumstances:      Multi-Facility businesses, Failed Businesses (including Failed Start-Up

Businesses), and Start-Up Businesses.


       34.       The Settlement Agreement anticipates the distinctions in compensation

calculations for Multi-Facility businesses and provides choices that are dictated by: (i) where the

business’ Headquarters are located; (ii) whether the business maintained separate

contemporaneous profit and loss statements for each Facility; and (iii) whether all of the

business’ Facilities are located within the Gulf Coast Areas. The Settlement Agreement provides

Multi-Facility businesses with substantial flexibility by allowing a consolidated Facility claim or

separate claims for one, some, or all of its Facilities. The documentation requirements for Multi-

Facility businesses are generally the same as the documentation requirements for business

claimants, however, separate profit and loss statements must be provided for each individual

Facility during the Benchmark Period and 2010. This is a reasonable means of ensuring that

profit and loss can be associated with the affected Facilities. In the event the Multi-Facility

business did not maintain contemporaneous profit and loss statements for each Facility during

the Benchmark Period and 2010, it may create the required profit and loss statements based on

its contemporaneous books and records. The Settlement Agreement provides reimbursement for

accounting assistance to prepare the required profit and loss statements, subject to limits.


       35.       The Settlement Agreement anticipates there will be shared costs between the

Facilities of a Multi-Facility business and provides a method to allocate these shared costs.

Shared costs are allocated among Facilities based on their share of the total revenue of the Multi-

Facility business. This is a logical, objective cost allocation method that makes economic sense.
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                                                         19


         36.      The compensation provisions for Multi-Facility businesses are fair and, indeed,

generous to claimants because the usual method to calculate lost profit evaluates the impact of

the loss event on an entire business to determine the overall effect of the loss event. Typically, if

one facility of a business experienced losses, but another facility of the same business had

increased profits, the profits and losses of the two facilities might offset and the claimant would

not be able to recover for the full amount lost by the one facility.21 The Settlement Agreement

provides a benefit for a Multi-Facility business by allowing claims to be filed by one, some, or

all of its Facilities, enabling the Multi-Facility business to be compensated under the best case

scenario.


         37.      The Failed Business framework provides a reasonable methodology to evaluate

and compensate claims by businesses that failed after the oil spill.                       The Failed Business

framework applies to a business that commenced operations prior to November 1, 2008, or a

Failed Start-Up Business that commenced operations on or after November 1, 2008 and then,

subsequent to May 1, 2010, but prior to December 31, 2011 either ceased operations and wound

down, entered bankruptcy or initiated or completed a liquidation of substantially all of its assets.

This is a reasonable timeframe to capture businesses that failed as a result of the oil spill or its

economic effects, and allows compensation to failed businesses that have ceased operations and

wound down, but not filed for bankruptcy protection.


         38.      Compensation for Failed Businesses is based on applying a multiple to the

widely-recognized and accepted metric EBITDA (Earnings Before Interest, Taxes, Depreciation

21
  For example, assume a business has one Facility with a loss related to the spill, but another Facility does better
than projected for the same time period because of the spill. The Settlement Agreement allows each Facility to
measure loss, if any, separately, and the business is not required to net the lost profit of one Facility with the net
profit of the other Facility.
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and Amortization) as a business performance measure. EBITDA is a standard measure used to

evaluate business performance and calculate business values, and is an appropriate standard to

measure the value of a business. The Settlement Agreement compensates Failed Businesses

based on the sum of their EBITDA for the latest twelve months of operations prior to May 1,

2010 with an industry-specific multiple applied. This formula calculates the pre-spill total

enterprise value. Utilization of EBITDA with a multiple applied is a standard market approach

used for business valuation and is detailed in the authoritative publication Valuing a Business:

The Analysis and Appraisal of Closely Held Businesses, 5th Edition, by Shannon P. Pratt and

Alina Niculita.


           39.      The industry-specific multiples are provided in a table in the Settlement

Agreement22, and were derived from data procured from the “Pratt’s Stats” database developed

by Shannon P. Pratt. “Pratt’s Stats” is a transaction database that collects and reports details of

sales of certain companies23 generally allowing for, among other things, the calculation of

pricing multiples associated with such transactions. The observed mutliples can then be used to

estimate the value of a comparable business.                      “Pratt’s Stats” is widely-recognized and an

accepted authoritative publication for business valuation calculations. “Pratt’s Stats” provides

the standard multiples (and the data underlying such multiples) used by business valuation

experts to apply to EBITDA to calculate the value of a business. The Settlement Agreement

provides “Pratt’s Stats” multiples for 27 industry descriptions, which encompass the typical

businesses which may be affected by the spill, as well as an additional multiple provided for “all


22
     See Table I of Exhibit 6 of the Settlement Agreement.
23
   The Settlement Agreement “Pratt’s Stats” multiples are based on reported private company merger and acquisition
transaction data with a disclosed Market Value of Invested Capital to EBITDA and a report date of January 1, 2008.
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                                                            21


deals” for any industry not specifically listed in the Settlement Agreement. The methodology

used in the Settlement Agreement to determine the value of established businesses that failed is a

widely-recognized measure of business valuation.


           40.       The calculated pre-spill total enterprise value is then reduced by the net

liquidation value (which is calculated: (i) by reference to the court-approved reorganization

value; or (ii) the sales proceeds from assets liquidated plus certified appraisal values of assets yet

to be liquidated under a plan of liquidation, net of liquidation costs24) to determine compensation

for the Failed Business. Adjustments to total liquidation value may be made for certain creditor

claims and prior amounts received by the claimant from BP25 or the GCCF. Although the reason

the business failed may not be solely attributable to the spill, the Failed Business that meets the

causation requirements (or has causation presumed) and documentation requirements will be

compensated according to the formula in the Settlement Agreement. No forensic analysis is

required to determine factors other than the spill that may have contributed to the business’

failure, and no reductions to compensation are made to account for any such factors. As a result,

this is a very generous feature of the settlement benefitting failed business claimants.


           41.       Failed Start-Up Businesses cannot be valued based on EBITDA because there is

no earnings history to rely upon. The Settlement Agreement compensates Failed Start-Up

Businesses based on the book value of equity as of May 1, 2010. Book value (assets at original

cost less depreciation, less liabilities) is a reasonable method to value a Failed Start-Up Business

because the assets are newly acquired; therefore, the original cost of the assets less depreciation


24
     Book value may be used if no certified appraisal exists for un-liquidated assets.
25
     Including profits earned by the claimant by participating in any BP-sponsored spill remediation program.
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                                                          22


should approximate the fair market value of the assets. Adjustments to book value are made for

amounts distributed to equity holders subsequent to the spill, the total current amount of unpaid

obligations to creditors, the book value of assets remaining to be liquidated (including cash), and

prior amounts received by the claimant from BP26 or the GCCF.


             42.    Compensation to the Failed Start-Up Business may include compensation for an

owner’s “sweat equity” provided the owner details in an affidavit the nature of uncompensated or

under-compensated services, the time period over which the services were rendered, the average

weekly amount of time devoted to the Failed Start-Up Business, and a description of any

employment outside of the Failed Start-Up Business during the time that the business operated.

Claimants who satisfy these criteria shall be entitled to “sweat equity” compensation. The use of

“sweat equity” provides a reasonable means to measure and compensate claimants for

uncompensated efforts to establish the business.27 The sweat equity participant’s earned income

prior to commencement of sweat equity contributions to the Failed Start-Up Business is used as

the basis to calculate the value of sweat equity. The sweat equity participant’s historical earned

income that is used to value sweat equity may begin as early as January 1, 2007 and ends with

the last full month preceding the commencement of sweat equity contributions to the Failed

Start-Up Business.           The inclusion of compensation for “sweat equity” in the Settlement

Agreement is an added benefit to the Failed Start-Up Business as it provides an additional

measure of loss that is not typical in my experience.




26
     Ibid.
27
     See Section V(2) of Exhibit 6 of the Settlement Agreement.
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                                                         23


           43.      Under the Settlement Agreement, a Start-Up Business is a business claimant with

less than eighteen months of operating history at the time of the spill.28 The compensation

framework for Start-Up Businesses is the same that is used for Business Economic Loss claims;

however, the Compensation Period includes three or more consecutive months selected by the

claimant between May 2010 and April 2011, with a corresponding Benchmark Period between

May 2011 and April 2012, unless, as discussed below, the Start-Up Business elects to use

qualified projections for May 2010 through April 2011 to establish expected earnings. This is

logical and consistent with the Business Economic Loss framework, but the Benchmark Period is

after the spill instead of before the spill. This is logical and fair because a start-up business has

less than eighteen months of operating history at the time of the spill; therefore, such a business

does not have adequate historical operations to measure the loss.


           44.      The Start-Up Business compensation framework provides flexibility by offering

the option of determining the claimant’s expected revenues and costs from the actual revenue

earned and actual variable costs incurred by the claimant during the Benchmark Period, or

allowing claimants to utilize projections of revenues and costs prepared prior to the spill and

provided to and utilized by a financial institution, other entity in the primary business of lending

or investing money, or other third-party lender who confirms its use of such projections in

extending credit to the Start-Up Business.29                  The provision to allow the claimant to use

projections is a benefit to the claimant because it takes account of the possibility that 2011 results

may not be a (or the most) reliable benchmark if the start-up business’ growth was significantly

slowed as a result of the spill. The option to use projections prepared prior to the spill allows for

28
     See Exhibit 7 of the Settlement Agreement.
29
     See Sections IV(A)(1)(b) and IV(D)(4) of Exhibit 7 of the Settlement Agreement.
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compensation to a Start-Up Business to be measured under the best objective scenario for the

claimant. The requirement that the Start-Up Business projections be utilized by a third-party

lender is reasonable because this provides reasonable assurance that the projections are reliable.


Individual Economic Loss


           45.      The Individual Economic Loss Framework (“Individual Framework”) is broad

and flexible in addressing a wide variety of individual circumstances, including individuals

without prior employment experience, those who changed jobs, people with multiple jobs,

seasonal workers, and individual periodic vendors and festival vendors. Compensation is also

available to individuals who were offered and accepted employment that was subsequently

revoked, even if they have not worked since then due to a family, medical, or educational reason.

Compensation available to individuals includes lost earnings, plus any applicable RTP30, lost

employment-related benefits,31 qualified training costs, qualified job search costs, and one-time

non-recurring event commission compensation, if any.32 The causation methodology for

individual claimants is similar to that for business claimants: causation is presumed for some

individual claimants who work in certain geographies and/or certain industries; others must

satisfy causation tests designed to establish that a loss is due to the spill.33




30
   See Exhibit 15 of the Settlement Agreement for RTP multiples available to individuals and note that not all
individuals get a RTP. Festival Vendors with insufficient documentation may receive compensation under certain
circumstances, but are not entitled to a RTP. Other individuals with insufficient documentation may not be eligible
for a RTP.
31
     See Exhibit 8C of the Settlement Agreement.
32
     See Section I(C) of Exhibit 8A of the Settlement Agreement.
33
     See Sections I(B), II(B), and III(B)(1)(c) of Exhibit 8A of the Settlement Agreement.
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                                                           25


           46.      The individual economic loss framework in the Settlement Agreement applies

generally accepted and established methods for individual claimants to receive compensation for

lost earnings. It is generally accepted that lost earnings for individuals are calculated as the

difference between expected earnings and actual earnings over the compensation period.34

Comparison of pre-incident and post-incident performance with consideration of growth factors

is a standard measure of damages for individual economic loss and is similar to the “before and

after” method used in the Business Economic Loss framework. This is the general methodology

used to calculate economic loss for individuals.


           47.      The Settlement Agreement classifies individual claimants into four categories,

based upon the supporting earnings documentation they can provide. The documents required in

the Settlement Agreement for individual economic loss compensation are those typically

required to calculate any individual economic loss. The required documents are relevant to

causation and damages analysis and are the types of documents that should be kept by or are

readily available to individuals.              Federal and state income tax returns (tax information

documents) and annual and pay period earnings reports (pay period earnings documentation) are

required for individual economic loss claims, if they are available. Pay period earnings may be

supported by a wide variety of documents, including not only pay stubs, but other sorts of pay

reports, bank records and other documents.35


34
     See Randi L. Firus and Keith R. Ugone, Litigation Services Handbook Ch. 14, p. 2 - Ch. 14, p. 6 (4th ed. 2007).
35
  Individual claimants with contemporaneous tax information and pay period documents for both year 2010 and the
Base Year(s) fall into Category I; Individual claimants who do not have tax information documents, but do have pay
period or other earnings documentation for year 2010 and the Base Year(s) fall into Category II; Individual
claimants who have earnings documentation for year 2010, but do not have comparable pre-spill Benchmark Period
earnings fall into Category III; and Individual claimants without earnings documentation who submit claimant and
employer sworn written statements to establish earnings fall into category IV. The delineation of these categories is
reasonable.
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                                                          26


           48.      The Settlement Agreement is unusual in allowing individual claimants who

cannot provide tax documentation or pay period documentation to rely instead on sworn written

statements to establish employment, causation and lost income related to that employment.36

This relaxation of the generally accepted standards for proving economic loss is not typical and

therefore benefits class members because it permits claimants who might not otherwise be able

to recover to pursue a claim.


           49.      Like a claimant asserting a business economic loss claim, an individual economic

loss claimant may engage an accountant to assist with the claims preparation and preparation and

assembly of the required documents and receive reimbursement for the accounting fees incurred,

subject to limits.37 The accounting reimbursement is paid over and above any compensation due

under the Agreement. Reimbursement of accounting fees provides an added benefit to the

individual claimant under the Settlement Agreement.


           50.      Specific causation criteria are provided for individual claimants in the Settlement

Agreement. The DWH spill is presumed to be the cause for lost individual earnings if an

individual worked in Zone A, worked in a primary seafood industry, or worked in a secondary

seafood industry in Zone B or C, worked in tourism in Zone B, or worked in charter fishing in

zones A, B or C. An employee for whom causation is not presumed and whose employer

qualified for compensation from the Gulf Coast Claims Facility or the Settlement Program

created under the Settlement Agreement can rely on those facts to establish causation. An

employee for whom causation is not presumed and who provides a sworn statement that


36
     See Exhibits 8A-E of the Settlement Agreement.
37
     See Sections 4.4.13.7 and 4.4.13.8 of the Settlement Agreement.
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                                                            27


attributes the individual’s loss of income to the oil spill may also qualify for compensation;

however, causation is not presumed and the Claims Administrator shall evaluate the credibility

and reliability of the information provided and has the right to request additional information to

determine if causation has been established.38


           51.       The causation requirements for individual claimants provide clear, well-defined

standards which offer claimants several options for establishing causation that accommodate

various individual circumstances. Indeed, certain presumptions relative to certain claimants in

certain geographic areas near the Gulf shore and in industries tied to the Gulf (e.g., tourism)

establish causation automatically.39               Such presumptions are rational but generous.         Other

claimants may rely on causation established by their employers through GCCF determinations or

the employer’s proof of causation in the settlement claims process.40 These categories are

reasonably delineated.


           52.       Like the Business Economic Loss framework, the Individual Framework allows

the claimant flexibility in selecting a Base Year(s), Benchmark Period and Compensation Period

to give them great opportunity to establish causation and maximize compensable loss. For

claimants other than Category III and IV claimants, the Base Years of 2009, the average of 2008

and 2009, and the average of 2007, 2008 and 2009 are comparable to the Business Economic

Loss framework.41 Similarly, the claimant’s ability to pick a Compensation Period of 90 or more



38
     See, e.g., Section III(B)(1)(c)(iii) of Exhibit 8A of the Settlement Agreement.
39
     See Section I(B)(2)(a) of Exhibit 8A of the Settlement Agreement.
40
     See, e.g., Section I(B)(2)(b)(i) of Exhibit 8A of the Settlement Agreement.
41
  The post-2010 Base Year for Category III claimants makes sense because they do not have a pre-2010 with
comparable earnings. Limiting Category IV claimants to using 2009 as the Base Year also seems reasonable, given
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consecutive days between April 21, 2010 and December 31, 2010 closely resembles the three

consecutive months or more requirement of the Business Economic Loss framework. The

requirement that Compensation Period dates must correspond with the pay periods used by the

employer is a reasonable way of making sure that the pay data are easy to compile and compare

between the Benchmark Period and the Compensation Periods. As in the Business Economic

Loss framework, these standardized options for selection of the Compensation and Benchmark

Period provide an appropriate level of standardization and consistency across individual

claimants.


         53.    The individual claimant establishes baseline earnings to use in calculating

Expected Earnings from earnings during the Benchmark Period. Certain claimants, such as

individuals not employed between January 1, 2007 and April 20l0, individuals employed on

April 20, 2010, but not employed until after April 20, 2009, and an individual who is considered

a Career Changer42 may use earnings in 2011 (with adjustments) for baseline earnings. This

provides these individuals with useful options to best maximize their compensation. Individuals

who received bonuses and/or commissions during the Benchmark Period will have those

amounts allocated over the period earned so that those amounts are considered in calculating

compensation.




the framework’s generosity in allowing them to pursue claims even though they have no contemporaneous written
documentation of their employment.
42
  An individual who changed employer(s) and line of work between the Benchmark Period and the Compensation
Period and whose earnings during the period January 1 to April 30, 2010 changed by more than 20% compared to
their earnings during the period January 1 to April 30 of the Base Year(s).
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            54.      As with the Business Economic Loss framework, growth factors are applied to

individual Benchmark Period earnings in calculating Expected Earnings.43 A Claimant-Specific

Growth Factor is calculated for salaried individuals who can provide pay period documentation

by dividing the claimant’s actual January through April 2010 base earnings by actual January

through April earnings in the Base Year(s).                 The framework also provides that individual

claimants who lack the documentation to establish a Claimant-Specific Growth Factor will be

presumed to have had expected wage growth of 2%.44 Finally, an individual with a non-salaried,

hourly-wage job receives an Industry Growth Factor of 1.5% in addition to his or her Claimant-

Specific Growth Factor or General Growth Factor.45


            55.      The Individual Framework also follows the Business Framework approach of

using a collar that significantly limits the impact of any negative growth in the claimant’s

earnings. If the calculated Claimant-Specific Growth Rate shows a decline of more than -1.5%,

it is limited for purposes of the Individual Framework to -1.5%. This means that, for such

claimants there will be no negative growth if they qualify for the Industry Growth Factor or, at

worst, only -1.5% for other such claimants. Conversely, the maximum growth rate is capped at

10% (or 11.5% for claimants who qualify for the Industry Growth Factor).


            56.      The presumed growth factors and the collar on growth appear to be reasonable

and, if anything, generous given the high unemployment rate in 2010. 46 The presumed growth


43
     See Exhibit 8A of the Settlement Agreement, Definition N.
44
     Exhibit 8A of the Settlement Agreement, Definition N(2).
45
     Ibid., Definition N(3).
46
  The unemployment rate for Louisiana, Mississippi, Alabama and Florida averaged 9.7% in 2010; the national
unemployment rate averaged 9.6% in 2010; source: United States Department of Labor, Bureau of Labor Statistics.
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factors for claimants with insufficient documentation and non-salaried, hourly wage earners are

commensurate with the increase in the Consumer Price Index for this time period.                              The

Consumer Price Index decreased .4% from 2008 to 2009 and increased 1.6% from 2009 to

201047; a General Growth Factor of 2% and Industry Growth Factor of 1.5% are reasonable and

may be generous. Given the low growth and high unemployment rate in 2010, a limit on

negative growth of -1.5% -- and for some claimants, 0% -- is favorable to claimants who

otherwise would have had lower Expected Earnings due to negative growth. It seems unlikely

the 10% growth cap will affect many claimants; in my experience I have observed that wages

rarely rise at that rate in times of high unemployment and low growth.


           57.      After Expected Earnings are calculated, there is an offset for actual earnings from

jobs forming the basis of any claim, as well as other earnings (e.g., earnings from non-claiming

jobs during the Compensation Period in excess of earnings from non-claiming jobs during the

Benchmark Period48) to determine lost earnings.                  The actual earnings are adjusted to take

account of the number of hours worked, so that a worker who had to work more hours to make

up for a lower wage rate is compensated for that extra effort and lost free time.


           58.      The Settlement Agreement provides for compensation if the individual claimant

can establish lost revenues resulting from the cancellation of a contract for a one time, non-

recurring event. This is similar to the treatment provided in the Settlement Agreement for

business economic loss and is a fair way to measure such losses.


47
     United States Department of Labor, Bureau of Labor Statistics, Consumer Price Index History Table.
48
  But see exceptions in Section O of Exhibit 8(A) of the Settlement Agreement that provide for no offset from non-
claiming jobs when the claimant shows that more hours were worked in the Claiming Job(s) during the
Compensation Period as compared to the Benchmark Period, or that fewer hours were worked in the Claiming
Job(s) during the Compensation Period as compared to the Benchmark Period.
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                                              31


       59.    The Settlement Agreement also anticipates that qualifying individuals may be

vendors who do not maintain records that would allow them to qualify under the business

economic frameworks.     Notably, the Settlement Agreement adds definitions for Individual

Periodic Vendors (IPV) and Festival Vendors to include such vendors in the individual

framework. An IPV is defined as someone who regularly sold food, souvenirs, art, tourist-

related or water-related goods at retail to specified consumers, did not maintain a permanent

business location in a building, was not employed by an employer in connection with the sales,

and does not have tax information documents sufficient to support a claim under the Business

Compensation Framework. A Festival Vendor is defined as someone who regularly made

festival sales prior to April 20, 2010, was not employed by an employer with the sales, and does

not have tax information documents sufficient to support a claim under the Business Economic

Loss framework.


       60.    The Settlement Agreement provides flexibility to IPVs or Festival Vendors

regarding the types of documents required for compensation. The IPV or Festival Vendor does

not have to provide tax information documents, but must have records that establish that they

were in the business of regularly making covered sales prior to April 20, 2010 and show the

amount of sales from May through December 2009 and 2010. Records that evidence sales such

as sales tax receipts, credit card registers and bank statements may meet the documentation

requirements for IPVs or Festival Vendors.


       61.    Compensation for IPVs or Festival Vendors is calculated by comparing total

revenues less corresponding total expenses for any three-month period selected by the claimant

between May 1 and December 31, 2010 to the same months in 2009 for IPVs, or for the full

period May through December 2010 as compared to May through December 2009 for Festival
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                                                        32


Vendors. With adequate documentation, an IPV or Festival Vendor shall be compensated up to

$12,000 in lost earnings prior to any RTP that may be applicable. This provision is generous to

these individual claimants because they are allowed to recover under the Settlement Agreement

even though they do not have documents required for other individual claimants. This is logical

because these are self-employed vendors whose work fluctuates during the year and they may

not have sufficient sales to receive IRS Form 1099 to support their sales.49 They may not have

the documentation required of other individual claimants, but nevertheless may qualify to receive

compensation under the Settlement Agreement.


         62.     Lost earnings for most individuals are increased by a Risk Transfer Payment

(RTP) in the same manner provided in the Business Economic Loss framework.50 The RTP for

individuals is a multiple applied to lost earnings to compensate for potential future injuries and

potential future damages, pre-judgment interest, any risk of oil returning, and any claims for

consequential damages, inconvenience, aggravation, any risk of future loss, the lost value of

money, compensation for emotional distress, liquidation of legal disputes about punitive

damages, and other factors.51           The applicable RTPs are summarized in Section 15 of the




49
  Form 1099 is required to be issued to a self-employed person when total annual sales to any individual or business
exceed $600. I would not expect the IPVs and Festival Vendors described in the Settlement Agreement to typically
sell in excess of $600 annually to an individual or business.
50
   Festival Vendors without sufficient documentation of earnings from festival sales who rely on Festival
Coordinator Sworn Statement have no RTP premium applied to their compensation. See Exhibit 15 of the
Settlement Agreement. Certain claimants without earning documentation classified in Category IV may not be
eligible for an RTP. See Section IV of Exhibit 8A of the Settlement Agreement. This appears reasonable in light of
the generosity of the settlement in letting such individuals recover at all without the normal documentation that
would be required.
51
  See Exhibit 15 of the Settlement Agreement and 4/18/12 Plaintiff’s and Defendants’ Memorandum in Support of
Joint Motion, p. 14.
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                                                         33


Settlement Agreement and are based on the industry of the individual’s employer and the Zone

in which the individual’s employer is located.52


           63.      Regardless of the periods that individual claimants select for causation or

compensation, the Settlement Agreement provides for possible increased economic damage

compensation because the Claims Administrator is directed to review the claimant information in

the Claim Form and all supporting documentation and process the claim to produce the greatest

possible economic damage compensation amount that the claimant’s information and supporting

documentation allows under the terms of the Economic Damage Claim Framework.53


           64.      The frameworks are flexible, providing both business and individual claimants

reasonable and often generous opportunities to meet the requirements for compensation. The

methodologies used are similar for business and individual claimants, resulting in comparable

treatment of these claimants.            The documents required for compensation are reasonable to

support a claim and claimants can receive reimbursement for accounting fees they incur that are

related to the claim (subject to certain limits). The calculated compensation for most claimants is

increased by a RTP to cover, among other things, any future losses beyond the Compensation

Period. The offsets applied to compensation occur after the RTP is applied; therefore, the

claimant receives the RTP premium on the calculated lost earnings before any offsets. The

offsets for spill-related payments and Vessel of Opportunity payments are reasonable


52
   See Exhibit 15 of the Settlement Agreement for RTP multiples available to individuals and note that not all
individuals gets a RTP. Festival Vendors with insufficient documentation may receive compensation under certain
circumstances, but are not entitled to a RTP. Individuals terminated from their Claiming Jobs for cause during the
Compensation Period are likewise not entitled to a RTP. An individual claimant may establish an alternative Zone
to be used for the RFP by demonstrating that primary employment activities and responsibilities were performed in a
location different from the employer’s business address and the claimed spill loss occurred in that different location.
53
     See Section 4.3.8 of the Settlement Agreement.
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                  Sharp Declaration
                      Exhibit A
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Curriculum Vitae
Page 2


                       1994 Outstanding Alumna
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                     corporations and other entities, as well as financial planning, estate planning, and business
                     succession planning. Litigation experience includes testimony and forensic accounting services
                     in accounting, financial, economic and business issues. Ms. Sharp is a Certified Public
                     Accountant, Certified Fraud Examiner and Certified in Financial Forensics.

EMPLOYMENT           LaPorte CPAs and Business Advisors .......................... 1981- present
HISTORY              Tulane University: ........................................................... 1999 - present

FEE SCHEDULE         Holly Sharp, CPA, CFE, CFF ............................................ $275 per hour
                     Staff Accountants and Managers ....................................... $100 to $195 per hour

PUBLICATIONS
PAST 10 YEARS        “Personal Injury,” Litigation Support Report Writing,
                     John Wiley & Sons, Inc., 2003

                     Measuring Damages Involving Individuals: A CPA’s Litigation Service Guide with Case Studies, AICPA,
                     2004

                     Introduction to Litigation Services, Bisk Education, Inc., 2005.

                     Lost Profit Damage Calculation, Bisk Education, Inc., 2005.


SELECTED
SPEECHES           “ Calculation of Damages from Personal Injury, Wrongful Death and Employment
                     Discrimination,” AICPA National Advanced Litigation Services Conference, October 14, 1998

                   “ Calculating Loss of Personal Injury, Wrongful Death and Employment Discrimination,” LCPA
                     Litigation Services Conference, October 29, 1999

                   “ Calculation of Damages in Personal Injury and Wrongful Death Cases: Advanced Issues,”
                     AICPA National Advanced Litigation Services Conference, October 17, 2000

                   “ Calculating Economic Damages in Louisiana,”
                     Lorman Education Services, November 3, 2000

                   “ Accounting and Financial Statement Analysis for Lawyers,”
                     Lorman Education Services, June 14, 2001

                   “ Calculation of Damages in Personal Injury, Wrongful Death and Wrongful Termination,”
                     National Litigation Support Services Association,
                     2002 Spring Conference, May 9-10, 2002

                   “ Calculation of Economic Damages,”
                     ASWA National Conference, October 17, 2002

                   “ The Role of the Certified Public Accountant in Forensic Accounting,”
                     University of New Orleans, December 6, 2002
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SELECTED SPEECHES – Continued

                   “ Forensic Accounting: Fraudulent Reporting, Concealed Assets, Computer Theft,” Illinois, Florida,
                     Texas, Michigan and Washington Societies of CPA’s,
                     various dates

                   “ Business Interruption Losses and Lost Profits Damage Calculations”
                     AICPA Conference on Fraud and Litigation Services, September 28, 2005

                   “ Calculation of Damages in Personal Injury, Wrongful Death and Wrongful Termination cases”
                     AICPA National Forensic Accounting Conference, September 25, 2009

                   “ Personal Injury/ Wrongful Death Damages” Mississippi Business Valuation & Litigation Support
                     Services Conference, November 6, 2009

                   “ Taxation for the Non-Taxation Lawyer” Louisiana State Bar Association Continuing Legal Education,
                     October 22, 2010
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EXPERT WITNESS TESTIMONY
PAST 4 YEARS

Forstall-Geotype Inc. d/b/a Forstall Art                Civil District Court for the Parish of Orleans
Supplies v. Lafayette Insurance Co.                     (2008) deposition testimony

Tatianna Ostrowiecki, et al. v. Aggressor               U.S.D.C., Eastern District of Louisiana, Case No. 07-6598
Fleet, Ltd., et al.                                     (2008) deposition testimony

Willows Housing Restoration Corporation                 U.S.D.C., Eastern District of Louisiana, Case No. 06-7602
v. Crum & Forster Specialty Insurance Co.               (2008) deposition testimony

Jason Michael Young, et al. v. Raytheon                 State of La., Parish of West Carroll, No. 25,867 “A”
Aircraft Company, et al.                                (2008) trial testimony

Adolph Charles Suhren, III v. Cheryl B. Gibert et al.   Civil District Court for the Parish of Orleans No. 04-16113
                                                        (2008) deposition testimony

Quintessa Huey and Caryn L. Fong, et al. v.             U.S.D.C., Eastern District of Louisiana, Case No. 07-1169
Super Fresh/ Sav-A-Center, Inc. et al.                  (2008) deposition testimony

Rutter v. Isuzu et al.                                  U.S.D.C., Eastern District of Louisiana, Case No. 05-6893
                                                        (2008) deposition testimony

Risk Management Services, LLC et al v.                  24th JDC for the Parish of Jefferson, No. 614-262
Robert W. Moss, III                                     (2008) deposition and trial testimony

R. W. Day & Associates v. The Architectural             AAA No. 69 110 Y 04366 07
Studio                                                  (2008) arbitration testimony

Phyllis Kay Doerr, et al. v. Mobil Oil Corp. and        34th JDC for the Parish of St. Bernard, No. 83-912
Chalmette Refining, LLC                                 (2009) trial testimony

Textron Innovations, Inc. and David Brown Union         U.S.D.C., Western District of Louisiana, Case No.5:05CV287
Pumps Co. v. Centrifugal Technology, Inc. et al.        (2009) deposition and trial testimony

Quest Diagnostics, Inc. v. Factory Mutual               USDC, Eastern District of Louisiana, Case No. 07-3877
Insurance Company                                       (2009) deposition testimony

Cleveland Rogers v. Tyrone J. Elphage and               40th JDC, Parish of St. John the Baptist No. 52312
Transport Service Company                               (2009) trial testimony

Active Solutions, L.L.C. and Southern Electronics       Civil District Court for the Parish of Orleans, No. 2007-3665
Supply, Inc. v. Dell, Inc. et al.                       (2009) deposition and trial testimony

Dominion Exploration & Production, Inc. and             Civil District Court for the Parish of Orleans, No. 2003-6945
Pioneer Natural Resources, USA. Inc. v. Ameron          (2009) deposition testimony
International Corporation, et al.

Tim Tatum and Richard Hillard, Jr. v. United            24th Judicial District Court for the Parish of Jefferson,
Parcel Services, Inc., et al.                           No. 653-300 (2009) deposition and trial testimony
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EXPERT WITNESS TESTIMONY – Continued

Centofani of Oakwood, Inc. v. Hartford Casualty          24th Judicial District Court for the Parish of Jefferson,
Insurance Company and J.D. Ellington Insurance, Inc.     No. 635-197 (2009) deposition and trial testimony

The Conerly Corporation, et al. v. Regions et al.        USDC, Eastern District of Louisiana, Case No. 08-813
                                                         (2010) deposition testimony

Anna Boone v. Eyemasters                                 USDC, Middle District of Louisiana, Case No. 09-1001
                                                         (2010) deposition testimony

Downtown Development Group et al. v.                     USDC, Eastern District of Louisiana, Case No. 09-6614
Landmark American Insurance, et al.                      (2010) deposition testimony

Preventive Maintenance Services, Inc. v.                 Arbitration Proceedings
Walters Power International, L.L.C.                      (2011) Arbitration testimony

Centofani of Oakwood, Inc. v. Hartford Casualty          24th Judicial District Court for the Parish of Jefferson,
Insurance Company and J.D. Ellington Insurance, Inc.     No. 635-197 (2011) deposition and trial testimony

Noble Energy, Inc. v. The Prospective Investment         USDC, Western District of Louisiana, CA No. 2:09-CV-0078
And Trading Company, Ltd.                                (2011) deposition testimony

Stephen Brower , et al. v. Progressive Security          Civil District Court for the Parish of Orleans, No. 09-3593
Insurance Co., et al                                     (2011) deposition and trial testimony

J. Brock Neuenhaus et al. v. Matthew C. Foster, et al.   24th Judicial District Court, Parish of Jefferson, No. 658-744
                                                         “K” (2011) deposition and trial testimony

SCB Diversified Municipal Portfolio, et al. v.           USDC, Eastern District of La., CA NO. 09-7351 “N” (4)
Crews & Associates, Inc., et al                          (2011) deposition testimony

Mack Energy Co. et al. v. ExPert Oil & Gas LLD           Arbitration (2012)
                                                         (2012) Arbitration testimony

Noble Energy, Inc. v. The Prospective Investment         USDC, Western District of Louisiana, CA No. 2:09-CV-0078
And Trading Company, Ltd.                                (2012) trial testimony

Spyridon C. Contogouris and Stephen Baldwin v.           USDC, Eastern District of Louisiana, CA No. 10-4609 “F”
Westpac Resources, LLC, Patrick N. Smith,                (2012) deposition and trial testimony
Kevin M. Costner and Rabobank, N.A.
